             Case 1:19-cv-01071-EGS Document 6 Filed 05/09/19 Page 1 of 7



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL DIVERSITY,

                 Plaintiff,

        v.
                                                     Civil Action No. 19-cv-01071-EGS
 BERNHARDT, et al.,
                                                     AFFIDAVIT OF SERVICE
                 Defendants.



       I hereby certify that service of the Complaint, Summons, and other case initiating

documents for the above captioned case took place as described below.

       On April 17, 2019, a copy of the Complaint, Summons, and other case initiating

documents were sent by certified mail, return receipt requested, to the following parties:

       David Bernhardt, Secretary
       U.S. Department of the Interior
       1849 C Street, N.W.
       Washington, DC 20240

       U.S. Fish and Wildlife Service
       1849 C Street, N.W.
       Washington, DC 20240

       William Barr, Attorney General
       U.S. Department of Justice
       950 Pennsylvania Avenue, N.W.
       Washington, DC 20530-0001

       U.S. Attorney
       c/o Civil Process Clerk
       555 4th Street N.W.
       Washington, D.C. 20001-2733




                                                 1
         Case 1:19-cv-01071-EGS Document 6 Filed 05/09/19 Page 2 of 7



       Secretary Bernhardt received the documents on April 23, 2019. The U.S. Fish and

Wildlife Service received the documents on April 23, 2019. The Attorney General received the

documents on April 26, 2019. The U.S. Attorney received the documents on April 30, 2019.

       Receipts and delivery confirmation verifying this information are attached hereto.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed on May 9, 2019.


Dated: May 9, 2019                                  /s/ Lila Woloshin
                                                    Lila Woloshin, Paralegal
                                                    Center for Biological Diversity
                                                    P.O. Box 11374
                                                    Portland, OR 97211-0374




                                                2
Case 1:19-cv-01071-EGS Document 6 Filed 05/09/19 Page 3 of 7




                             
                             
                             
                             
                     (;+,%,7$
Case 1:19-cv-01071-EGS Document 6 Filed 05/09/19 Page 4 of 7
Case 1:19-cv-01071-EGS Document 6 Filed 05/09/19 Page 5 of 7
Case 1:19-cv-01071-EGS Document 6 Filed 05/09/19 Page 6 of 7
Case 1:19-cv-01071-EGS Document 6 Filed 05/09/19 Page 7 of 7
